          Case 1:19-cv-02848-JEB Document 86 Filed 09/27/24 Page 1 of 5




                             UNITED STATES DISTRICT COURT
                         DISTRICT OF THE DISTRICT OF COLUMBIA


 MONTE A. ROSE, JR., et al.,                           )
                                                       )
                 Plaintiffs,                           )
                                                       )
         v.                                            )
                                                       )   No. 1:19-cv-02848-JEB
 XAVIER BECERRA, et al.,                               )
                                                       )
                 Defendants.                           )


                        REPLY OF INTERVENOR-DEFENDANT
               INDIANA FAMILY AND SOCIAL SERVICES ADMINISTRATION
              IN SUPPORT OF MOTION TO MODIFY STAY PENDING APPEAL

       Plaintiffs’ opposition to the requested modification of the stay largely rests on their view

that granting the motion would not affect the D.C. Circuit’s jurisdiction over Indiana’s appeal.

Dkt. 85 at 2, 4. They do not argue the modification would prejudice anyone. But to grant the

requested modification, this Court need not make any definitive determination on whether the

modification would impact appellate jurisdiction—the D.C. Circuit must decide its “own jurisdic-

tion.” Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 95 (1998). It is enough for this Court

to conclude that granting the requested modification could impact the jurisdictional calculus.

       There is reason to believe that staying the remand could matter to the D.C. Circuit. Alt-

hough plaintiffs argue that the Court of Appeals “lacks jurisdiction over an appeal of a remand

order” filed by a party other than the federal government where the federal government itself does

not appeal, Dkt. 85 at 4, that is “not [an] absolute” rule, In re Long Distance Tel. Serv. Fed. Excise

Tax Refund Litig., 751 F.3d 629, 633 (D.C. Cir. 2014). Most relevant for purposes of this stay

motion, D.C. Circuit precedent establishes there is appellate jurisdiction over a private party’s

appeal where it is clear that the agency will not “take[] any reviewable action” on a matter during



                                                  1
          Case 1:19-cv-02848-JEB Document 86 Filed 09/27/24 Page 2 of 5




the appeal. Id.; see also Am. Great Lakes Ports Ass’n, 962 F.3d 510, 515 (D.C. Cir. 2020) (permit-

ting appeal by private parties where the agency would not “conduct further proceedings” and the

district court “characterized its remand order as a ‘final appealable Order’”). So staying the remand

very well could impact the D.C. Circuit’s jurisdictional determination in this case.

       If a stay of the remand were to have the effect that Indiana urges, there would be a clear

benefit. An appeal would allow Indiana to obtain appellate review of a decision that has significant

impacts on its Medicaid policies and operations. See Dkt. 84 at 4. If Indiana were to succeed on

appeal, the decision on appeal would restore to Indiana the authorities necessary to implement a

“critical component” of its Medicaid demonstration project. S.A.R. 2025, 8240, 8250. The deci-

sion would redress a sovereign injury, see Abbott v. Perez, 585 U.S. 579, 602 & n.17 (2018), and

remove the “substantial uncertainty” that surrounds HIP’s future, Dkt. 74-1, Ex. A at 1. And even

if Indiana did not achieve complete success, a decision from the D.C. Circuit would inform any

further proceedings by clarifying the applicable law. In the absence of a D.C. Circuit decision, the

parties face the risk that the agency will conduct proceedings on remand under this Court’s under-

standing of Section 1115, but that the D.C. Circuit will adopt a different understanding of Section

1115 in a future appeal, which would require a redo of the determination. 1 Plaintiffs, meanwhile,

identify no harm to themselves from having the legal issues in this case addressed sooner rather

than later. As this Court concluded, there is no reason to postpone appeal. See Dkt. 71 at 2.

       Plaintiffs dispute that they should have raised their concerns about appellate jurisdiction

sooner, saying that, in their view, the critical event for jurisdictional purposes was the federal




1
  Recall that the Supreme Court vacated the D.C. Circuit’s Gresham decision under a doctrine
designed to “clear[] the path for future relitigation of the issues,” United States v. Munsingwear,
Inc., 340 U.S. 36, 40 (1950); see Arkansas v. Gresham, 142 S. Ct. 1665 (2022), which means that
the issues decided in Gresham are now open for relitigation in the D.C. Circuit.


                                                 2
          Case 1:19-cv-02848-JEB Document 86 Filed 09/27/24 Page 3 of 5




government’s decision not to appeal. Dkt. 85 at 1–2, 4. We accept that statement at face value.

Still, if plaintiffs believed that “only” the “agency to which the remand order is directed” may

appeal an order remanding for non-ministerial proceedings, Pls.-Appellees’ Mot. to Dismiss for

Lack of Jurisdiction, No. 24-5172, at 5 (D.C. Cir. filed Sept. 3, 2024), that information would be

highly relevant to discussions surrounding Indiana’s request for a stay pending its appeal. At the

time Indiana sought a stay pending its appeal, no party other than Indiana had appealed. This Court,

however, need not tarry with the precise reasons why one thing or another occurred, since staying

the remand would provide a benefit and would not prejudice any party.

       As an alternative to Indiana’s proposed modification of the stay, plaintiffs say that they

would agree to modifying the current stay so that it continues during any remand. Dkt. 85 at 4–5.

That modification would postpone some harms that will manifest once the current stay expires,

which will happen on resolution of Indiana’s appeal and disposition of any timely filed petition

for certiorari. See Dkt. 83. But there is no reason that this Court must choose between these pro-

posals. It can stay the remand proceedings pending resolution of Indiana’s appeal (to address a

potential jurisdictional objection) and partially stay vacatur of the Secretary’s 2020 approval pend-

ing any remand (to guard against the possibility that the D.C. Circuit determines that it lacks juris-

diction or upholds this Court’s decision). The operative text could read as follows:

       The Court STAYS the effect of its opinion (Dkt. 68) and order (Dkt. 67) vacating the
       Healthy Indiana Plan (HIP) 2.0 Demonstration Project, except for those portions related to
       payment or non-payment of POWER account contributions, pending resolution of the ap-
       peal, issuance of the mandate, and disposition of any timely filed petition for certiorari,
       and if the appeal is dismissed or the opinion and order are affirmed, any remand.

       The Court also STAYS the remand pending resolution of the appeal, issuance of the
       mandate, and disposition of any timely filed petition for certiorari.

(The strikethroughs and bolded text indicate modifications from the current order. See Dkt. 83.).

Entering an order along these lines would give all parties what they seek.



                                                  3
Case 1:19-cv-02848-JEB Document 86 Filed 09/27/24 Page 4 of 5




                           Respectfully submitted,


                           THEODORE E. ROKITA
                           Indiana Attorney General

                           By: /s/ James A. Barta
                           James A. Barta (DC Bar 1032613)
                           Solicitor General


                           Office of the Indiana Attorney General
                           302 W. Washington St.
                           Indiana Government Center South, 5th Floor
                           Indianapolis, IN 46204-2770
                           Phone: (317) 232-0709
                           Fax: (317) 232-7979
                           Email: James.Barta@atg.in.gov

                           Caroline M. Brown (DC Bar 438342)
                           Brown & Peisch PLLC
                           1225 19th St. NW, Suite 700
                           Washington, D.C. 20036
                           Phone: (202) 499-4258
                           Email: cbrown@brownandpeisch.com

                           Counsel for Intervenor-Defendant
                           Indiana Family and Social Services Administration




                              4
         Case 1:19-cv-02848-JEB Document 86 Filed 09/27/24 Page 5 of 5




                               CERTIFICATE OF SERVICE

       I hereby certify that on September 27, 2024, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which shall send notification of such filing to any

CM/ECF participants.


                                            /s/ James A. Barta
                                            James A. Barta
                                            Solicitor General
                                            Office of the Attorney General
                                            302 W. Washington St., IGCS 5th Floor
                                            Indianapolis, IN 46204-2770
                                            Phone: (317) 232-0709
                                            Fax: (317) 232-7979
                                            Email: James.Barta@atg.in.gov




                                               5
